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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                           NORTHERN DIVISION



THE CITY OF ANNAPOLIS, MARYLAND,        )
                                        )
                Plaintiff,              )
                                        )   Case No. 1:19-cv-01162-GLR
     v.                                 )
                                        )   Action Filed: February 26, 2019
PURDUE PHARMA L.P.; PURDUE PHARMA       )   Action Served: March 20, 2019
INC.; THE PURDUE FREDERICK COMPANY;     )
TEVA PHARMACEUTICALS USA, INC.;         )
                                        )
CEPHALON, INC.; JOHNSON & JOHNSON;
                                        )
JANSSEN PHARMACEUTICALS, INC.;          )
ORTHO-MCNEIL-JANSSEN                    )
PHARMACEUTICALS, INC. n/k/a JANSSEN     )
PHARMACEUTICALS, INC.; JANSSEN          )
PHARMACEUTICA, INC. n/k/a JANSSEN       )
PHARMACEUTICALS, INC.; ENDO HEALTH      )
SOLUTIONS INC.; ENDO                    )
PHARMACEUTICALS INC.; INSYS             )
TERAPEUTICS, INC.; CARDINAL HEALTH,     )
INC.; MCKESSON CORPORATION;             )
                                        )
AMERISOURCEBERGEN DRUG
                                        )
CORPORATION; WILLIAM THAM, M.D.;        )
PHYSICAL MEDICINE AND PAIN              )
MANAGEMENT ASSOCIATES, P.C.; KOFI       )
SHAW-TAYLOR; HAPPINESS AGUZIE;          )
TORMARCO HARRIS; MINNIE NDEM;           )
STARLIFE WELLNESS CENTER LLC;           )
LAWRENCE VIDAVER, M.D.; and             )
MARYLAND HEALING WATERS, LLC f/k/a      )
MARYLAND HEALING WATERS LLC,            )
                                        )
                Defendants.             )
                                        )



                REMOVING DEFENDANTS’ STATEMENT IN
          RESPONSE TO STANDING ORDER CONCERNING REMOVAL
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        The Removing Defendants 1 submit this Statement in response to the Court’s April 22, 2019

Standing Order Concerning Removal (Doc. 5) in which the Court requested certain information

related to five subjects. For ease of reference, those five subjects are repeated below, with

responses provided to each.

    1. The dates(s) on which each defendant was served with a copy of the summons and
       complaint.

        Defendants Endo Pharmaceuticals Inc. and Endo Health Solutions Inc. received the

summons and complaint through service on March 20, 2019.

        Defendants Purdue Pharma L.P., Purdue Pharma Inc., and The Purdue Frederick Company

Inc. received the summons and complaint through service on March 20, 2019.

        Defendants Teva Pharmaceuticals USA, Inc. and Cephalon, Inc. received the summons and

complaint through service on March 20, 2019.

        Defendants Johnson & Johnson; Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. n/k/a

Janssen Pharmaceuticals, Inc. received the summons and complaint through service on March 20,

2019.

        Defendant Insys Therapeutics, Inc. received the summons and complaint through service on

March 20, 2019.

        Defendant McKesson Corporation received the summons and complaint through service on

March 29, 2019.


1
 The Removing Defendants are those Defendants that removed the action (Endo Pharmaceuticals
Inc. and Endo Health Solutions Inc.), and those that consented to the Notice of Removal: Purdue
Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick Company Inc.; Teva Pharmaceuticals
USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-
Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc.
n/k/a Janssen Pharmaceuticals, Inc.; Insys Therapeutics, Inc.; McKesson Corporation; Cardinal
Health, Inc.; and AmerisourceBergen Drug Corporation.


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       Defendant Cardinal Health, Inc. received the summons and complaint through service on

March 29, 2019.

       Defendant AmerisourceBergen Drug Corporation received the summons and complaint

through service on March 29, 2019.

    2. In actions predicated on diversity of citizenship, an indication of whether any
       defendants who have been served are citizens of Maryland, and, for any entity that is
       not a corporation, the citizenship of all members.

       According to documents on file in the state court action prior to removal, the following

Dealer Defendants 2—the only Defendants who may be citizens of Maryland—were served prior

to removal: Happiness Aguzie; Tormarco Harris; Maryland Healing Waters LLC; and Kofi Shaw-

Taylor. Additionally, Dealer Defendants Lawrence Vidaver, M.D.; William Tham, M.D.; and

Physical Medicine and Pain Management Associates, P.C. appeared in the state court action prior

to removal, indicating that they may have been served.

       Of the Removing Defendants, Purdue Pharma L.P. is the only entity that is not a

corporation. It is not a citizen of Maryland. Purdue Pharma L.P.’s partners are Purdue Pharma

Inc., a citizen of New York and Connecticut, and Purdue Holdings L.P. Purdue Holdings L.P.’s

partners are Purdue Pharma Inc., a citizen of New York and Connecticut; PLP Associates Holdings

Inc., a citizen of New York and Connecticut; and PLP Associates Holdings L.P. PLP Associates

Holdings L.P.’s partners are PLP Associates Holdings Inc., a citizen of New York and

Connecticut; and BR Holdings Associates L.P. BR Holdings Associates L.P.’s partners are BR

Holdings Associates Inc., a citizen of New York and Connecticut; Beacon Company; and Rosebay

Medical Company L.P. Beacon Company’s partners are Stanhope Gate Corp., a citizen of the


2
 As set forth in the Notice of Removal (Doc. 1), the Dealer Defendants are: William Tham, M.D.;
Physical Medicine and Pain Management Associates, P.C.; Kofi Shaw-Taylor; Happiness Aguzie;
Tormarco Harris; Minnie Ndem; Starlife Wellness Center LLC; Lawrence Vidaver, M.D.; and
Maryland Healing Waters, LLC f/k/a Maryland Healing Waters LLC.


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British Virgin Islands and Jersey, Channel Islands; and Heatheridge Trust Company Limited, a

citizen of Jersey, Channel Islands. Rosebay Medical Company L.P.’s partners are Rosebay

Medical Company, Inc., a citizen of Delaware and Connecticut; R. Sackler, a citizen of Florida;

and J. Sackler, a citizen of Connecticut.

   3. If removal takes place more than thirty (30) days after any defendant was first served
      with a copy of the summons and complaint, the reasons why removal has taken place
      at this time and the date on which the defendant(s) was (were) first served with a
      paper identifying the basis for such removal.

       Defendants Endo Pharmaceuticals Inc. and Endo Health Solutions Inc. timely filed the

Notice of Removal on April 19, 2019. Endo Pharmaceuticals Inc. and Endo Health Solutions Inc.

received the summons and complaint through service on March 20, 2019. The Notice of Removal

was timely filed. See 28 U.S.C. § 1446(b)(1); Murphy Brothers, Inc. v. Michetti Pipe Stringing,

Inc., 526 U.S. 344, 347-48 (1999).

   4. In actions removed to this court predicated on diversity jurisdiction in which the
      action in state court was commenced more than one year before the date of removal,
      the reasons why this action should not be summarily remanded to state court.

       This does not apply, as this action was removed less than one year from commencement.

   5. Identification of any defendant who was served in the state court action prior to the
      time of removal who did not formally join in the notice of removal and the reasons
      why such defendant did not join.

       As explained above, according to documents on file in the state court action prior to

removal, the following Dealer Defendants were served prior to removal: Happiness Aguzie;

Tormarco Harris; Maryland Healing Waters LLC; and Kofi Shaw-Taylor. Additionally, Dealer

Defendants Lawrence Vidaver, M.D.; William Tham, M.D.; and Physical Medicine and Pain

Management Associates, P.C. appeared in the state court action prior to removal, indicating that

they may have been served. Regardless whether any Dealer Defendants have been served, as set

forth in detail in the Notice of Removal (Doc. 1), the Dealer Defendants are not properly joined in



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this action because they are fraudulently joined, severable under Federal Rule of Civil Procedure

21, and fraudulently misjoined. Their citizenship is ignored for purposes of diversity jurisdiction,

and their consent to removal is not required.



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                                    CERTIFICATE OF SERVICE

       The undersigned hereby certifies on this 3rd day of May, 2019 I directed that the

foregoing to be e-filed with this Court’s electronic filing system and thereby served via the

Court’s ECF filing system on all parties requiring electronic notification.

       The undersigned further certifies on this 3rd day of May, 2019 I directed that the

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